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CARSTELLA CONNER, as Admimstratrx CLEH§, iii-2 :`.`).:_.1'¢“. C?'.
Orrhe Estate OfCAssoWAY Cor'roN, W-D- @F ‘N vtf"»’i"*'if$
and on behalf of the wrongful death beneficiaries
or CAssoWAY corroN,
Piaimirr,
v. NO. 05_2043

KINDRED HEALTHCARE, INC., et al.,

Defendants.

ORDER REMANDING CASE TO STATE COURT

Plaintiff, Carstella Conner, as administratrix of the Estate of Cassoway Cotton and on behalf
of the Wrongful death beneficiaries of Cassoway Cotton, initiated this action in Shelby County,
Tennessee Circuit Court (No. CT-006756-()4 Div. 5) against the Defendants, Kindred Healthcare,
lnc.J Kindred Healthcare Services, Inc., Kindred Healthcare Operating, lnc. (hereinafter collectively
referred to as “Kindred”), Kindred Nursing Centers Limited Partnership doing business as Spring
Gate Rehabilitation and Healthcare Center (hereinafter “Spring Gate Center”), and Spring Gate
Center’s administrator, Renee B. Tutor. The Defendants later removed the action to this Court based
on diversity jurisdiction, despite the fact that on the face of the complaint, it appeared complete
diversity Was lacking §e£, 28 U.S.C. § 1332. On February 17, 2005, Conner filed a motion to
remand the case to state court based on the absence of complete diversity among the parties. As the

Defendants have responded to the motion, it is now appropriate for disposition.

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FACTS AND PROCEDURAL BACKGROUND
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integrity agreement between Vencor, lnc., also known as Kindred Healthcare, lnc., and Cotton.
One of the Defendants, the nursing home administrator, Renee B. Tutor, like the Plaintiff,
is a resident of the State ofTennessee. (Notice of Removal Pursuant to 28 U.S.C. § 1446 at 2.) The

Defendants, Kindred Healthcare Services, lnc. and Kindred Healthcare Operating, lnc., are Delaware

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LEGAL STANDARD

A case initially filed in state court may be removed to federal court pursuant to 28 U.S.C.
§§ l44l and 1446. “[A]ny civil action brought in a State court of Which the district courts of the
United States have original jurisdiction, may be removed by the defendant or the defendants, to the
district court.” 28 U.S.C. § l44l(a). However, when federal question jurisdiction is lacking, a case
may be removed “only if none of the parties in interest properly joined and served as defendants is
a citizen of the State in which such action is brought.” 28 U.S.C. § l44l(a) and (b). Here, based on
the face of the amended complaint, diversity of citizenship is lacking because Tutor is a citizen of
Tennessee, precluding removal under 28 U.S.C. § l44l(b). Nonetheless, Kindred argues that the
joinder of the administrator Defendant Was undertaken solely in an attempt to avoid removal.

The Sixth Circuit has recognized that “fraudulent joinder of non-diverse defendants will not
defeat removal on diversity grounds.” Covne v. Am. Tobacco Co., 183 F.3d 488, 493 (6th Cir. l 999)
(citation omitted). However, the party removing the case must establish that the joinder was a
subterfuge Alexander v. Elec. Data Svs. CorD., 13 F.3d 940, 949 (6th Cir. 1994). To prove
fraudulent joinder, “the removing party must present sufficient evidence that a plaintiff could not
have established a cause of action against non-diverse defendants under state law.” ,C_oy_r§, l 83 F.3d

at 493 (citing Alexander, 13 F.3d at 949). “There can be no fraudulent joinder unless it be clear that

 

there can be no recovery under the law of the state on the cause alleged or on the facts in view of the
law.” Alexander, 13 F.3d at 949 (quoting Bobbv J ones Garden Apartments. Inc. v. Suleski, 3 91 F.2d

172, 176 (5th Cir. 1968)). If there is “arguably a reasonable basis for predicting that the state law

might impose liability on the facts involved,” then remand is appropriate I_d:; §§ also _C_o}g:_, 183
F.3d at 493 (stating that a “colorable basis for predicting that a plaintiff may recover against non-
diverse defendants” requires remand); Jerome-Duncan, lnc, v. Auto-By-TelJ L.L.C., 176 F.3d 904,
907 (6th Cir. 1999) (“the inquiry is whether [plaintiff] had at least a colorable cause of action against
[the defendant]”). “[A]ny disputed questions and facts and ambiguities in the controlling state law

[should be resolved] . . . in favor of the nonremoving party.” Alexander, 13 F.3d at 949 (citations

 

omitted; alterations and emphasis added in the original). “All doubts as to the propriety of removal

are resolved in favor of remand.” Coyne, 183 F.3d at 493. A plaintiffs motive in joining non-

non-diverse Defendant is liable under Tennessee law, the Court must look to the law of that state to
determine whether the Defendant Was fraudulently joined §e_e i_cL (applying Michigan state law to
ascertain whether the defendant was properly joined).

ANALYSIS

 

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decision of Brown & Sons Lumber Co. v. Sessler, 163 S.W. 812, 813-14 (Tenn. 1913), in which the
Tennessee Supreme Court held that an “intermediate superior employe[e can be held responsible]
only if his personal negligence, in an immediate act or command, was the efficient cause or a
coefficient cause of the injury.” Similarly, in Parker v. Vanderbilt UniverM, 767 S.W.2d 412, 416

(Tenn. Ct. App. 1998), the Tennessee Court of Appeals held that a hospital’s Chief of

participation by the Administrator in the negligent and/or tortious conduct of subordinates.” (Resp.

Mot. Remand at 6.)

Unlike Parker, Where the court found the complaint contained no claims of negligent acts by the
doctor himself, the Plaintiff in this case has asserted such conduct directly by Tutor.
Defendants also argue that the Plaintiff is attempting to base her recovery on violations of

Tennessee statutes and regulations governing nursing home administrators According to the

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Defendants, no private right of action exists under these state provisions However, the Court finds
that Conner is merely asserting that these statutes establish a standard and duty of care for nursing
home administrators as opposed to creating a private right of action. Specifically, Plaintiff claims
that the Defendants have violated Cotton’s rights under provisions of Tenn. Code Ann. § 68-1 1-
901 (1 5), (16), (21), and (24). These subsections provide that “[e]very nursing horne resident/patient
has . . . rights . . . (15) [t]o be suitably dressed . . . and to be given assistance, when needed in
dressing, grooming and maintaining body hygiene,” “(16) [f]or the family . . . to be notified
immediately of any accident, sudden illness, disease, . . . or anything unusual,” “(21) [t]o be free
from willful abuse or neglect,” and “(24) [t]o be treated with consideration, respect and full
recognition of the resident’s dignity and individuality.”

Nevertheless, the Defendants contend that these are merely licensing statutes and should not
be used to establish a claim of negligence per se. In Tennessee, “‘ [i]t is well settled that a failure to
perform a statutory duty is negligence per se, and, if the injury is the proximate result or consequence
of the negligent act, there is liability.”’ M, No. E2004-02467-COA-R3-CV, 2005 WL
1183151, at *5 (Tenn. Ct. App. May 19, 2005) (quoting My._l\/Igg_a_n, 48 S.W. 971, 972 (Tenn.
1898)). In order to impose liability based on the failure to comply with a statute or regulation, “‘the
person suing must be such a person as is within the protection of the law and intended to be

[benefitted] thereby.”’ Li at *6 (quoting Carter v. Redmond, 218 S.W. 217, 218 (Tenn. 1920)).

 

Although the Defendants claim that these enactments do not offer protection to nursing home
residents, a plain reading of the provisions reflects that they provide specific “rights” to patients
Defendants point to numerous factors for the Court to consider in determining whether the

violation of a statute or regulation is negligence per se. However, the Court need not decide that

a

issue since the Plaintiff must only present an arguably “reasonable basis for predicting that the state

law might impose liability on the facts involved.” §§ Alexander, 13 F.3d at 949. Moreover, the

against [the] non-diverse defendant[]” based on common law negligence and negligence per se. S c
ng_n_g, 183 F.3d at 493.

The Court has not found any reported Tennessee cases, nor have the parties cited to any, that
address whether a nursing home administrator owes its residents a duty of care. All “ambiguities

in the controlling state law [should be resolved] . . . in favor of the nonremoving party.” Alexander,

 

13 F.3d at 949 (citations omitted; alterations and emphasis added in original). Consequently, the

Court concludes that the Defendants have failed to establish fraudulent joinder and that Plaintiff has

Healthcare, lnc., No. 04-1344-T/An (W.D. Tenn. Apr. 18, 2005), Chief Judge James D. Todd

ensure proper care for the residents Barkley, No. 04-1344-T/An, at 4. Likewise, Judge Bernice B.

Donald found that remand Was appropriate iri Petties v. Kindred Healthcare. lnc., No. 04-2996-DA

(W.D. Tenn. Apr. 25, 2005), based on similar facts as the instant case.

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CONCLUSION

 

For the reasons articulated herein, Plaintiffs motion to remand is GRANTED and this case
is hereby REMANDED to the Circuit Court of Shelby County, Tennessee. The Clerk of Court is
directed to prepare a judgment accordingly The Court also notes that the Defendants have filed a
motion to dismiss, or in the alternative, for summary judgment The determination of this motion
will be deferred t0 the state court for resolution.

IT is so oRi)ERED ihisl`__tf_g` rinne, 2005.

 
 
   

 

i. A iEL BREEN \
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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:05-CV-02043 was distributed by fax, mail, or direct printing on
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